                                                  THE HONORABLE MARY JO HESTON
 1                                                CHAPTER 13
                                                  HEARING DATE: March 12, 2019
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                                                  HEARING TIME: 1:00 P.M.
 3                                                LOCATION: Tacoma, Washington

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10                   IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       WESTERN DISTRICT OF WASHINGTON AT TACOMA
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12    In re:                                      Case No.: 19-40032-MJH
13    JASON ARTHUR MCDOWELL and                   OBJECTION TO CONFIRMATION WITH
      NANCY MARIE HOFFMAN,                        STRICT COMPLIANCE
14

15
                                       Debtors.

16             COMES NOW, Michael G. Malaier, Chapter 13 Standing Trustee, and objects to
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     confirmation as follows:
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                                             BACKGROUND
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               Debtors filed this Chapter 13 case on January 5, 2019. The applicable commitment
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     period is sixty months. The case is currently in the first month and the Meeting of Creditors has
21
     been completed. The bar date for filing non-governmental claims is March 18, 2019. Scheduled
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     unsecured claims total $43,432.52. The plan as filed proposes 100% repayment to general
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     unsecured filed and allowed claims.
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                                                                                    Michael G. Malaier
                                                                            Chapter 13 Standing Trustee
     TRUSTEE’S OBJECTION TO CONFIRMATION                                         2122 Commerce Street
     WITH STRICT COMPLIANCE - 1                                                    Tacoma, WA 98402
                                                                                        (253) 572-6600
                                              OBJECTION
 1
        ☒ Plan is not feasible: The plan is not adequately funded to pay all secured, priority, and
 2
          unsecured claims, along with administrative expenses, provided for in the plan. See
 3        attached Declaration. Trustee request that confirmation be continued past the claims bar
          date to assess feasibility at that time.
 4
        ☐ Plan is not proposed in good faith or is forbidden by law:
 5
        ☐ Plan fails to commit all excess disposable income for the applicable commitment period
 6        as required by 11 U.S.C. § 1325(b)(1)(B):
 7      ☐ Plan does not meet the best interests of creditors test as required by 11 U.S.C. §
          1325(a)(4):
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 9      ☐ Schedules or other documentation insufficient:

10      ☐ Other:

11          WHEREFORE, Trustee requests that the objection to confirmation be sustained and

12   debtors be ordered to file a motion to confirm a plan resolving the issues raised herein within 14

13   days of entry of the Order Sustaining Trustee’s Objection to Confirmation; and to set the
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     hearing on the next available motion calendar after the 14 days expires. If the Motion to
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     Confirm resolving the Trustee’s issues is not filed and set for hearing as outlined above, the
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     Trustee requests he be allowed to enter an order dismissing the case, ex parte, without notice.
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18          DATED this 25th day of February, 2019.

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20                                                    /s/ Matthew J.P. Johnson
                                                      Matthew J.P. Johnson, WSBA# 40476 for
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                                                      Michael G. Malaier, Chapter 13 Trustee
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                                                                                    Michael G. Malaier
                                                                            Chapter 13 Standing Trustee
     TRUSTEE’S OBJECTION TO CONFIRMATION                                         2122 Commerce Street
     WITH STRICT COMPLIANCE - 2                                                    Tacoma, WA 98402
                                                                                        (253) 572-6600
 1
                                      CERTIFICATE OF MAILING
 2

 3
            I declare under penalty of perjury under the laws of the United States as follows: I
     mailed via regular mail a true and correct copy of the Trustee’s Objection to Confirmation and
 4   Declaration to the following:

 5          Jason Arthur McDowell
            Nancy Marie Hoffman
 6          47501 – 260th Ave. S.E.
            Enumclaw, WA 98022
 7
            The following parties received notice via ECF:
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 9
            Ellen Ann Brown
            US Trustee
10
            Executed at Tacoma, Washington on the 25th day of February, 2019.
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12
                                                         /s/Tracy Maher
13                                                       Tracy Maher
                                                         Office Manager
14
                                                         Michael G. Malaier
                                                         Chapter 13 Trustee
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                                                                                   Michael G. Malaier
                                                                           Chapter 13 Standing Trustee
     TRUSTEE’S OBJECTION TO CONFIRMATION                                        2122 Commerce Street
     WITH STRICT COMPLIANCE - 3                                                   Tacoma, WA 98402
                                                                                       (253) 572-6600
